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                                No. 22-01409



           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE TENTH CIRCUIT


                        Alejandro Menocal, et al.,
                                                            Plaintiffs-Appellees,
                                  ― v. ―
                            The GEO Group, Inc.,
                                                          Defendant-Appellant.


               On appeal from the United States District Court
 for the District of Colorado, No. 1:14-cv-02887 (Hon. John L. Kane)


                     APPELLANT’S REPLY BRIEF
                       (Oral Argument Requested)



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                     STATEMENT OF RELATED CASES

      This appeal is related to a previous appeal on an unrelated issue in Menocal v.

The GEO Group, Inc., 882 F.3d 905 (10th Cir. 2018).




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                                   GLOSSARY

AIPC          Aurora Immigration Processing Center

DSI           Derivative Sovereign Immunity

ICE           Immigration and Customs Enforcement

FTCA          Federal Tort Claims Act

GEO           Defendant-Appellant The GEO Group, Inc.

NDS           National Detention Standards

PBNDS         Performance Based National Detention Standards

TVPA          Trafficking Victims Protection Act

VWP           Voluntary Work Program




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                                INTRODUCTION

      “[I]mmunity reduces the risk that contractors will shy away from government

work.” Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 167 (2016) (discussing

qualified immunity). The rationale behind derivative sovereign immunity (“DSI”)

flows from “the government’s unquestioned need to delegate governmental

functions and the acknowledgement that imposing liability on private agents of the

government would directly impede the significant governmental interest in the

completion of its work.” Butters v. Vance Int’l, 225 F.3d 462, 466 (4th Cir. 2000)

(quotations and modification omitted).

      Plaintiffs disagree with current federal immigration law and seek to hinder its

enforcement by discouraging contractors from working with Immigration and

Customs Enforcement (“ICE”).       Whatever the merits of their policy position,

Plaintiffs’ chosen method of redress is precisely what DSI exists to prevent. And its

application is especially appropriate in this case, where Congress has expressly

directed ICE to use contractors where possible. 8 U.S.C. § 1231(g)(2). Consistent

with that mandate, ICE directed GEO to implement a housekeeping policy

enforceable through the ICE disciplinary scale and likewise directed GEO to adopt

a voluntary work program (“VWP”) that paid participants a minimum stipend of $1

per day—the exact amount appropriated by Congress.




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      To avoid the straightforward application of DSI, Plaintiffs’ brief resorts to

straw-man arguments, misstatements of law and fact, and emotional hyperbole.

Noticeably absent is the application of the Supreme Court’s two-prong DSI standard:

whether the work that “‘was done was within the constitutional power of Congress’”

and whether the contractor “performed as the Government directed.” Campbell-

Ewald, 577 U.S. at 167 (quoting Yearsley v. W. A. Ross Constr. Co., 309 U.S. 18, 20

(1940)). Two circuits to apply this test since Campbell-Ewald have both found DSI

applicable in cases remarkably similar to this one. Cunningham v. Gen. Dynamics

Info. Tech., Inc., 888 F.3d 640, 649 (4th Cir. 2018); Taylor Energy Co., L.L.C. v.

Luttrell, 3 F.4th 172, 175–76 (5th Cir. 2021). In fact, Taylor Energy even rejected

the central argument against DSI embraced by the district court below. That

argument would strip away immunity whenever a contractor had any “leeway”—

that is, discretion—in discharging its assignments. Id. at 174; but see APP. Vol. III

at 748 (embracing the Ninth Circuit’s idiosyncratic zero-discretion standard from

Cabalce v. Thomas E. Blanchard & Assocs., Inc., 797 F.3d 720 (9th Cir. 2015)).

      The undisputed facts in this case confirm that GEO performed as directed by

ICE. Its actions implementing ICE’s policies also comport with common sense and

long-standing practice in both state and federal detention settings: giving

institutionalized persons an opportunity to pass the time productively and expecting

capable adults to tidy up the place where they live. Congress has made clear that



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immigration enforcement must depend on contractors. 8 U.S.C. § 1231(g). That

congressional policy becomes impossible if Plaintiffs succeed in rewriting the law

of DSI.

                                    ARGUMENT

   I.      The Denial of Immunity Is a Textbook Application of the Collateral
           Order Doctrine.

        Plaintiffs have now filed a third brief challenging this Court’s jurisdiction to

hear a collateral order appeal.         Their desire to avoid judicial review is

understandable, but their arguments miss the mark for reasons explained in GEO’s

brief in opposition to Plaintiffs’ motion to dismiss (“MTD Op.”).

        Plaintiffs assert that every circuit to have considered application of the

collateral order doctrine to DSI has rejected it. Appellee’s Answering Br. (“AB”)

20. That is inaccurate. MTD Op. 6. Candidly, the circuit courts are split on whether

denials of DSI are immediately appealable. Id. Plaintiffs accurately identify the two

courts that have agreed with their position. AB 23–24 (citing Houston Cmty. Hosp.

v. Blue Cross, 481 F.3d 265 (5th Cir. 2007); Pullman Constr. Indus., Inc. v. United

States, 23 F.3d 1166 (7th Cir. 1994)). On the other side of the split are three circuits,

all postdating the two cases on which Plaintiffs rely. ACT v. Worldwide Interactive

Network, Inc., 46 F.4th 489, 496–98 (6th Cir. 2022); In re World Trade Ctr. Disaster

Site Litig., 521 F.3d 169, 192–93 (2d Cir. 2008); McMahon v. Pres. Airways, 502

F.3d 1331, 1340 (11th Cir. 2007); see also Cunningham, 888 F.3d at 649 (“[W]e


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treat the Yearsley doctrine as derivative sovereign immunity that confers

jurisdictional immunity from suit.”).

       This Court should join the group of circuits that permits collateral-order

appeal of orders denying DSI. An order denying DSI satisfies all three of the

conditions for immediate appellate review: it “(1) conclusively determine[s] the

disputed question, (2) resolve[s] an important issue completely separate from the

merits of the action, and (3) is effectively unreviewable on appeal from a final

judgment.” Los Lobos Renewable Power, LLC v. AmeriCulture, Inc., 885 F.3d 659,

664 (10th Cir. 2018) (quoting Coopers & Lybrand v. Livesay, 437 U.S. 463, 468

(1978)).

       Plaintiffs have never contested the first factor. MTD Op. 8. Regarding the

second factor, the district court denied DSI “as a matter of law.” APP. Vol. III at

744. This Court has held that “the collateral order doctrine’s second condition is

more likely to be satisfied where purely legal matters are at issue.” Los Lobos, 885

F.3d at 665 (quotation omitted). Indeed, the Supreme Court has held that immunity

questions are separate from the merits, even if they require consideration of facts.

Mitchell v. Forsythe, 472 U.S. 511, 528 (1985); see also MTD Op. 8–13. Finally,

the third factor strongly favors review because “a defendant’s claim of right not to

stand trial . . . cannot be effectively vindicated after the trial has occurred.” Mitchell,

472 U.S. at 525; MTD Op. 13–16.



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      Plaintiffs base their opposition on a fourth factor not included in Los Lobos or

Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541 (1949). They insist that

collateral order review is only available if the otherwise-appealable order implicates

sufficiently important policy concerns. MTD 11–13; AB 24–26. GEO has already

explained that DSI easily satisfies that additional criterion, relying on the Supreme

Court’s many statements that withholding DSI “threaten[s] disruption of

governmental functions.” Will v. Hallock, 546 U.S. 345, 352 (2006); MTD Op. 17.

This is no less true for contractors than for employees: “an independent contractor

performing its obligation under a . . . contract, rather than an official performing his

duty as a federal employee, . . . obviously implicate[s] the same interest in getting

the Government’s work done.” Boyle v. United Techs. Corp., 487 U.S. 500, 505

(1988); see also Butters, 225 F.3d at 466.

      The mechanism for disrupting the government’s work by withholding DSI is

the same as withholding qualified immunity from government employees and

contractors. As Justice Ginsburg succinctly expressed it in Campbell-Ewald, losing

immunity means that “contractors will shy away from government work.” 577 U.S.

at 167. In Filarsky v. Delia, 566 U.S. 377, 390 (2012), the Court likewise relied on

the common “purpose” underlying qualified immunity and a contractor’s DSI:

“Affording immunity not only to public employees but also to others acting on

behalf of the government similarly serves to ensure that talented candidates are not



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deterred by the threat of damages suits . . . .” (quotations and alterations omitted). 1

“Indeed, it is often when there is a particular need for specialized knowledge or

expertise that the government must look outside its permanent work force to secure

the services of private individuals.” Id.

      As if there was any doubt about the policy importance of attracting capable

contractors to run immigration detention facilities, this case involves an express

instruction from Congress to use contractors.         8 U.S.C. § 1231(g)(2).       That

congressional instruction strengthens the policy justification even beyond Mitchell,

Filarsky, or any of the circuit cases identified above. It also creates a unique class

of DSI cases—those based on congressional directives to utilize contractors—that

are especially deserving of immediate review, even if this Court were somehow




1
  Plaintiffs dispute the similarity between government employees and contractors,
arguing that it is “all but foreclosed” by Richardson v. McKnight, 521 U.S. 399, 409
(1997). AB 25 n.3. That argument suffers from myriad flaws. First, Filarsky was
decided 15 years later and cabined Richardson to the particular circumstance of
individual guards asserting full-blown qualified immunity in response to suit under
42 U.S.C. § 1983. 566 U.S. at 392–93. Second, this Court has noted “the limited
nature of the Supreme Court’s holding in Richardson.” Crowson v. Wash. Cnty.
Utah, 983 F.3d 1166, 1182 n.9 (10th Cir. 2020). In the years since Richardson, it
has extended qualified immunity to individual contractors serving as doctors (Estate
of Lockett v. Fallin, 841 F.3d 1098 (10th Cir. 2016)), psychiatrists (Estate of Jensen
v. Clyde, 989 F.3d 848 (10th Cir. 2021)), and probation officers (Franco v. Bd. of
Cnty. Comm’rs, 609 F. App'x 957 (10th Cir. 2015)). Contrary to Plaintiffs’
assertion, Richardson barely constrains contractors from enjoying qualified
immunity, let alone DSI.

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disinclined to join the Second, Sixth, and Eleventh Circuits in recognizing DSI for

all contractors who satisfy the two conditions in Campbell-Ewald.

         The two circuits that deny collateral order review for denials of DSI do so on

the premise that federal sovereign immunity is a nullity. Pullman, 23 F.3d at 1168;

Houston Cmty. Hosp., 481 F.3d at 280. This Court has never endorsed that view,

and the Second Circuit dismissed Pullman as a “sweeping and entertaining analysis.”

World Trade Ctr., 521 F.3d at 191. In fact, this Court has recognized the immediate

appealability of denials of absolute immunity, which share the key characteristic of

DSI: a right not to be sued. Chavez v. Singer, 698 F.2d 420 (10th Cir. 1983). The

Court’s own precedent, the weight of recent decisions from other circuits, and

congressional intent that stands to be thwarted by the burdens of litigation all weigh

in favor of hearing this appeal.

   II.      ICE Authorized and Directed Payment for Participants in the
            Voluntary Work Program.

         DSI attaches when “what was done was within the constitutional power of

Congress” and the contractor “performed as the Government directed.” Campbell-

Ewald, 577 U.S. at 167 (quotation omitted). Nothing in the Supreme Court’s test

requires a complete elimination of all discretion on the part of the contractor. Each

of GEO’s contested actions meets the Supreme Court’s standard, so Plaintiffs and

the district court attempt to redefine DSI to require that a government contract

remove all discretion. See APP. Vol. III. at 749–52 (denying DSI for the sin of GEO


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“exercising its discretion”). That might have been the rule in the Ninth Circuit before

Campbell-Ewald, but other circuits have expressly rejected it, and this Court should

do the same.

       A. To Obscure the Government’s Direction and Oversight, Plaintiffs
          Attempt to Change the Law.

      The root of Plaintiffs’ error—which persuaded the district court—is that DSI

is unavailable if a contractor has any discretion in performing its work. Plaintiffs’

brief makes a habit of quoting precedent and then “rephrasing” it in ways that

transform the meaning.      For example, after quoting the actual standard from

Yearsley—“the government ‘directed’ the challenged conduct”—Plaintiffs declare

that “[i]n other words” the standard is “the government made me do it.” AB 15.

They likewise transform Campbell-Ewald’s authorized-and-directed test: “[t]hat is,

the plaintiff’s harm was the government’s fault.” AB 31. The objective of all this

“rephrasing” is to justify the Ninth Circuit’s Cabalce standard, which treats any

discretion as incompatible with DSI. Plaintiffs have now cast their lot with this

Court adopting that approach. AB 35 (“the Ninth Circuit has it exactly right”).

      But Plaintiffs’ zero-discretion standard departs from Yearsley and Campbell-

Ewald, and two circuits to have considered the question since the Supreme Court’s

opinion in Campbell-Ewald have rejected Plaintiffs’ approach.

      In Cunningham, for example, the U.S. Department of Health and Human

Services hired a contractor to contact a list of individuals and provide information


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about the commercial availability of health insurance. 888 F.3d at 644. It authorized

but did not require the contractor to use an autodialer, which would be illegal under

the Telephone Consumer Protection Act (“TCPA”) absent the prior consent of each

recipient. Id. When the contractor opted to use an autodialer without obtaining the

consent of recipients, the plaintiff brought suit, “alleg[ing] . . . this call was made

using an automatic telephone dialing system” in violation of the TCPA.

Cunningham v. Gen. Dynamics Info. Tech., Inc., No. 1:16-cv-00545, 2017 WL

1682534, at *2 (E.D.Va. May 1, 2017). The Fourth Circuit concluded that the

contractor was entitled to DSI, notwithstanding the fact that the government

authorized but did not require use of an autodialer. Cunningham, 888 F.3d at 647.

      Plaintiffs’ assertion that “[n]othing in Cunningham suggests [DSI]

encompasses conduct the contractor was not required to engage in,” AB 34, is flat

wrong. The government did not require use of an autodialer. Yet when the

contractor used an autodialer in violation of the TCPA, its actions were still

“directed” by the government and therefore eligible for DSI.          Of course, the

contractor in Cunningham could have taken additional actions to comply with the

TCPA, but then there would not have been a lawsuit—or need for immunity. 2 So



2
  Interestingly, Campbell-Ewald was also a TCPA case. The different outcome in
that case reflects different directions from the government. In Campbell-Ewald, the
Navy explicitly instructed its contractor to obtain prior consent before using an
autodialer. 577 U.S. at 168.

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too here, GEO could have paid a stipend to VWP participants in excess of $1 per

day, but its immunity from suit did not depend on doing so.

       Plaintiffs’ attempt to distinguish Taylor Energy is little more than declaring

in conclusory fashion that the government “ordered” all of the contractor’s work.

AB 34–35. To the contrary, the entire case was about the contractor’s discretion in

developing a project management plan and designing a method for containing oil.

Taylor Energy, 3 F.4th at 176. The plaintiff in that case made precisely the argument

that Plaintiffs make here: defendant’s “contract with the Coast Guard lacks details

and gives [the contractor] leeway in deciding how to run the capture and cleanup

operation,” thus disqualifying it from DSI. Id. at 174. If anything, the “leeway” in

Taylor Energy was greater than whatever discretion GEO had in identifying the

specific chores that would comprise ICE-mandated housekeeping or paying the

VWP stipend. The Fifth Circuit’s conclusion that contractor “leeway” is consistent

with DSI is an exact rejection of the argument Plaintiffs successfully presented to

the district court.

       What Cunningham and Taylor Energy have in common is their recognition

that the Supreme Court’s “authorized and directed” standard does not require the

government to extinguish all possible contractor discretion. In contrast, the district

court in this case required GEO to show that it had “no discretion,” in reliance on

the Ninth Circuit’s decision in Cabalce. APP. Vol. III at 748–49. This legal error



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led the court to demand that GEO’s contracts with ICE expressly foreclose every

possible exercise of discretion: “to enjoy the vast protection of derivative sovereign

immunity,” GEO must show its “challenged actions were required by its contractual

obligations.” APP. Vol. III at 749; id. at 745 (“[W]ere GEO’s challenged actions

required by its contractual obligations?”). The district court then concluded that

because there was no “contractual requirement to compensate VWP participants

$1.00 per day and no more,” GEO’s discretion to pay more erases DSI. APP. Vol.

III at 751–52 (emphasis added).

      No other circuit has embraced Cabalce’s approach to DSI. As explained in

GEO’s Opening Brief, Cabalce’s zero-discretion standard derives from the

dissenting opinion in a Supreme Court case related to a specific statute, the Federal

Tort Claims Act (“FTCA”), and one of its enumerated exceptions—the

“discretionary function” exception.      Appellant’s Opening Br. (“OB”) 22–25

(discussing 28 U.S.C. § 2680(a) and Boyle). Plaintiffs’ attempt to make Boyle, 487

U.S. 500 relevant is baffling. AB 15–17. By its own terms, Boyle is specific to the

FTCA. 487 U.S. at 511. And that is exactly how this Court has applied it. See e.g.,

Creek Nation Indian Housing Auth. v. United States, 905 F.2d 312, 313 (10th Cir.

1990) (applying Boyle to FTCA discretionary function exception). No court has

ever embraced Plaintiffs’ theory that Boyle creates a complement to Yearsley for

DSI cases in which the contractor proposes a course of action rather than the



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government. And Plaintiffs cite none. Their best efforts at a salvage operation of

the Ninth Circuit’s mistake serve only to highlight how far that court departed from

existing law.

      Plaintiffs elsewhere respond by downplaying the district court’s legal error as

“quibbles with the Ninth Circuit’s citation practices.” AB 36. That is, frankly,

remarkable. This appeal turns on applying the correct legal standard for DSI—

“authorized and directed” versus zero-discretion.       The lower court’s mistaken

embrace of the latter breaks with a consensus that includes the two circuits that have

addressed this issue since the Supreme Court affirmed the authorized-and-directed

standard in Campbell-Ewald. Incidentally, even the three dissenting justices in

Campbell-Ewald dissented on mootness grounds, not over a substantive

disagreement like Plaintiffs’ and the district court’s. 577 U.S. at 175 (Roberts, C.J.,

dissenting).

      Apart from unconvincing attempts to distinguish precedent, Plaintiffs’ only

response is to attack a pair of straw men. First, they assert that GEO believes DSI

“provide[s] absolute immunity to private contractors for any misconduct they may

commit, unless they actually violate their contract with the government.” AB 19–

20; see also id. 31–32, 38. That, of course, is not GEO’s position. Rather, as

explained in the Opening Brief, DSI asks “whether the contractor complied with the

terms of its contract and the directions actually provided.” OB 29. A contract is one



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mechanism through which the government provides direction, but it is not the

exclusive means. Nor is it an absolute shield for everything the contractor does (e.g.,

actions wholly outside the contract’s scope). Here, there can be no dispute that GEO

complied with ICE’s direction in the contract and the various incorporated

documents. Id.

      In a similar vein, Plaintiffs assert that “private companies do not acquire the

United States’ ‘embracive immunity,’ simply because they contract with the

government.” AB 29 (citing Campbell-Ewald, 577 U.S. at 166). Of course not. The

issue is whether the government directed the tasks that give rise to Plaintiffs’ claims

and whether GEO complied with those directions. See Campbell-Ewald, 577 U.S.

at 167 (“‘there is no liability on the part of the contractor’ who simply performed as

the Government directed.” (quoting Yearsley, 309 U.S. at 20–21)).

      Not only is the zero-discretion rule far removed from anything the Supreme

Court has endorsed, but it is a recipe for paralyzing the government. It puts an

unreasonable burden on the government to explicitly foreclose every way in which

contractors could do something extra to appease a future plaintiff.           And for

contractors, the incentive is exactly what the Supreme Court noted in Campbell-

Ewald: “contractors will shy away from government work.” 577 U.S. at 167.

Especially in cases like this one, where Congress has expressly instructed an agency

to use contractors rather than perform the work in-house, Plaintiffs’ transformation



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of DSI is an affront to the separation of powers. See Astoria Federal S. L. Ass’n. v.

Solimino, 501 U.S. 104, 108 (1991) (“Congress is understood to legislate against a

background of common law adjudicatory principles.”).

       B. GEO Paid a $1-Per-Day Stipend, as Directed.

      There is a reason Plaintiffs rewrite the standard for DSI and mischaracterize

GEO’s recitation of the actual law. Correctly understood, DSI attaches as long as

GEO complied with the government’s direction to pay VWP participants a minimum

stipend of $1.00 per day. Some amount of discretion—or “leeway,” as Taylor

Energy called it—is consistent with DSI, provided the contractor “performed as the

government directed.” Campbell-Ewald, 577 U.S. at 167.

      As a preliminary matter, ICE used different language in the 2008 PBNDS and

2011 PBNDS regarding VWP stipends. The former specifies that “the compensation

is $1.00 per day,” APP. Vol. I at 222, while the latter adds that compensation shall

be “at least $1 (USD) per day,” ECF 271-4 at 2, 3; App. Vol. I at 147. 3 In both cases,

Plaintiffs confirm their reliance on the theory that DSI is only available if the



3
  Plaintiffs misstate the effective date of the later formulation. AB 49 n.17. The
2011 PBNDS and several other modifications were added to GEO’s contract through
“Modification 5, dated May 23, 2013.” SUPP. APP. Vol. I at 72. As ICE further
explained, “[t]he application of new detention standards at any given detention
facility requires negotiation with the contractor or locality operating the facility, and
execution of a separate contract modification incorporating the standards into the
facility’s agreement with ICE.” Progress in Implementing 2011 PBNDS Standards
at 5 (Jan. 17, 2017) available at https://tinyurl.com/y9uvzaf4.

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government affirmatively extinguishes all discretion: ICE “did not prohibit GEO

from paying more.” AB 48–49. That is not the law. As summarized above, the

Supreme Court’s standard for DSI is whether the government has authorized and

directed the contractor’s actions. See Part II.A supra. The VWP stipend illustrates

why the district court followed Plaintiffs’ suggestion to adopt the flawed Cabalce

analysis. Only if DSI requires the elimination of all discretion does Plaintiffs’

argument make sense. Fortunately, as Cunningham and Taylor Energy illustrate,

courts outside of the Ninth Circuit have rejected Cabalce’s mistaken reasoning.

      Confronted with ample evidence that GEO performed as ICE directed,

Plaintiffs attempt to argue Yearsley’s authorization prong—that is, Plaintiffs argue

“ICE could not have validly conferred on GEO the authority to [pay $1 per day]

because Congress did not authorize the agency to do so.” AB 49; see also id. at 47

(regarding housekeeping, “ICE could not have validly conferred on GEO the

authority to violate the Trafficking Victims Protection Act.”).

      “Authorization is ‘validly conferred’ on a contractor if Congress authorized

the government agency to perform a task and empowered the agency to delegate that

task to the contractor, provided it was within the power of Congress to grant the

authorization.” Cunningham, 888 F.3d at 646–47. The federal government has

“plenary or near plenary power over immigration issues.” Steinle v. City & County

of San Francisco, 919 F.3d 1154, 1165 (9th Cir. 2019).            Indeed, “over no



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conceivable subject is the legislative power of Congress more complete than it is

over the admission of aliens.” Fiallo v. Bell, 430 U.S. 787, 792 (1977) (quotation

marks omitted). This authority includes the “power to detain aliens in connection

with removal.” Demore v. Kim, 538 U.S. 510, 523 (2003) (quotation marks omitted).

      Congress authorized ICE to enter into contracts for the performance of

detention functions, 8 U.S.C. § 1231(g), and to pay “allowances (at such rate as may

be specified from time to time in the appropriation Act involved) to aliens, while

held in custody under the immigration laws, for work performed.” 8 U.S.C. § 1555.

Congress last specified that rate in the Department of Justice Appropriation Act,

1979, Pub. L. No. 95–431, 92 Stat. at 1027. In that statute, Congress authorized

payment of allowances “at a rate not in excess of $1 per day.” Id. Although it has

considered changing the rate since then, see, e.g., H.R. 4431 § 221, 117th Cong.

(2021) (bill approved by the House Appropriations Committee proposing to raise

allowances to a rate determined by the Secretary of Homeland Security and not less

than the federal minimum wage of $7.25 per hour), it has not yet done so. As it

stands, Congress has authorized a maximum rate of payment for “work performed”

by “aliens, while held in custody under the immigration laws,” of $1 per day. See

Alvarado Guevara v. I.N.S., 902 F.2d 394, 396 (5th Cir. 1990) (noting that “one

dollar ($1.00) per day for [immigration detainees’] participation” in voluntary work

program “was set by congressional act”).



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      Plaintiffs might be correct that a higher stipend is good policy, but they cannot

use the courts to effect a change that the elected branches of government have

declined to adopt—particularly through the mechanism of DSI, which depends on

governmental direction. By definition, when Plaintiffs’ claims run up against extant

legislation, their argument that GEO is not acting as currently directed by the

government must fail.

      Congress acted within its constitutional powers to authorize reimbursement

for VWP participants at $1 per day, and ICE directed GEO to do just that. These are

the circumstances for which DSI exists to immunize those who “performed as the

government directed.” Campbell-Ewald, 577 U.S. at 167.

   III.   ICE Authorized and Directed GEO’s Housekeeping and Disciplinary
          Policies.

      Reading Plaintiffs’ brief, a person could be forgiven for incorrectly thinking

that the housekeeping policy at issue extended beyond detainees’ assigned living

areas or that detainees routinely faced solitary confinement for refusing to clean. To

the contrary, detainees’ housekeeping obligations are modest and specifically

required by ICE. On the other hand, Plaintiffs’ sweeping claims of “forced labor”

would forbid even a policy requiring detainees to make their own beds—after all,

the same ICE disciplinary scale would apply, including up to 72 hours of isolation

as the second-most severe punishment. APP. Vol. I at 215. Plaintiffs’ arguments




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prove too much and engage the record too little. The undisputed facts show that

GEO did what the government directed.

      Every contract GEO entered with ICE incorporated the applicable detention

standards—the 2000 NDS, 2008 PBNDS, or the 2011 PBNDS—and required that

GEO comply with those standards. APP. Vol. II at 261–62 (Additional Undisputed

Fact #7). Those contracts and standards in turn provide that “all detainees are

responsible for personal housekeeping. *** Detainees are required to maintain their

immediate living areas in a neat and orderly manner . . . .” APP. Vol. I at 220;

accord id. at 145 (same in 2011 PBNDS). They also expressly “obligated”—the

district court’s word, APP. Vol. III at 725—GEO to punish “[r]efusal to clean

assigned living area” according to a scale of 13 disciplinary sanctions, which

included “disciplinary segregation (up to 72 hours).” APP. Vol. I at 215–16

(emphasis added). To repeat: ICE, through the contracts and national detention

standards, both authored the disciplinary scale and required its application to

detainees who refused to clean their assigned living areas. Id.

      ICE provided further direction to GEO in the National Detainee Handbook,

which the PBNDS requires be distributed to all detainees. APP. Vol. I at 203, 223.

Any uncertainty that might exist in the PBNDS regarding the scope of detainee

housekeeping obligations disappears upon consulting the Handbook: “You are

required to perform basic cleaning tasks within your living unit, regardless of where



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you are held.” ECF 51-3 at 19 (2008 Handbook) (emphasis added); ECF 310-1 at

18 (same in 2013 edition) (“[Y]ou must keep areas that you use clean, including your

living area and any general use areas that you use. If you do not keep your areas

clean, you may be disciplined.” (emphasis added)). Under Plaintiffs’ definition of

“forced labor,” this language belies their incredulous assertion that “there is no

evidence that [ICE] told GEO to include forced labor.” AB 44. Even if Plaintiffs

were correct on the meaning of “forced labor,” the National Detainee Handbook

directed exactly that approach. As a result, GEO is immune from suit.

      GEO’s local supplement to the National Detainee Handbook, which ICE

required, reviewed, and approved, further elucidates these requirements. APP. Vol.

I at 132; APP. Vo. II at 259 (Material Undisputed Fact #15); ECF 271-11 at 8-10;

ECF 261-16 at 5-6; ECF 291-1. The supplement expounded a more detailed list of

the National Detainee Handbook’s “basic cleaning tasks” and their connection to the

living unit: “[a]ll detainees are required to keep clean and sanitary all commonly

accessible areas of the housing unit including walls, floors, windows, window

ledges, showers, sinks, toilets, tables, and chairs.” APP. Vol. I at 244. Not only

does this document add nothing to the requirements that ICE already imposed, but

ICE reviewed and approved it. APP. Vol. II at 259 (Material Undisputed Fact #15)

(“All of GEO’s policies are reviewed and approved by an on-site ICE official.”).




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      Lacking any meaningful response to these undisputed facts, Plaintiffs attempt

to sow confusion.      They first attempt to conflate the ICE-approved AIPC

supplemental handbook with various distinct internal “procedure” documents and

testimony regarding the lack of ICE involvement with those internal documents. AB

43–44. To that end, Plaintiffs selectively and misleadingly quote statements from a

declaration regarding the so called “Housing Unit Sanitation Policy” or “HUSP.”

AB 7, 44; SUPP. APP. Vol. I at 73. The “HUSP” is an invention of the Plaintiffs;

there are no documents with that title. More importantly, the fact that the ICE

contracting officer described those assorted internal plans and procedures as “GEO

policy created by GEO” is irrelevant. It is designed to distract this Court from the

fact that GEO’s actions comported with the contract, PBNDS, and National Detainee

Handbook—and a local supplement that ICE reviewed and approved. APP. Vol. II

at 259 (Material Undisputed Fact #15). Those documents are more than sufficient

to establish that ICE “authorized and directed” GEO’s actions. That other internal

documents were not reviewed by ICE is a red herring.

      In another attempt to avoid the voluminous and undisputed evidence,

Plaintiffs adopt a different strategy than the district court. They argue that only the

national detention standards matter because those are the “only” documents GEO “is

actually contractually required to follow.” AB 40. This is another subtle but

incorrect twist on the law. DSI depends on whether the contractor’s actions were



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“directed” by the government. Direction need not take the form of a contractual

provision. See, e.g., Taylor Energy, 3 F.4th at 174 (citing, inter alia, Coast Guard

administrative order and memoranda from oil-spill response coordinator). The

National Detainee Handbook—which, incidentally, GEO is contractually bound to

distribute—is another source of direction for contractors housing ICE detainees. If

circumstances were reversed and GEO was not providing a benefit enumerated in

the Handbook, Plaintiffs would surely cry foul.

      Further illustrating the error in their understanding of DSI and government

direction, Plaintiffs cannot articulate a boundary around permissible and

impermissible housekeeping. Their mechanical insistence that any chore undertaken

under threat of punishment is “forced labor” would apply to a requirement that

detainees make their own beds or sweep the floor around their bunks. In fact, the

Complaint asserts just that. APP. Vol. I at 24. Indeed, Plaintiffs’ theory would allow

an individual to intentionally make a mess and later refuse to clean it up—

undermining order and discipline in the facility. Not only is that consequence

nonsensical on the merits, but it is impossible to argue that ICE did not authorize

and direct mandatory housekeeping for these areas. Plaintiffs’ undefined line

between permissible housekeeping (if any) and “forced labor” reflects their failure

to consider all sources of direction from ICE. Looking to the National Detainee

Handbook and the ICE-approved local supplement leaves no doubt that ICE required



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detainees to perform basic housekeeping in their housing units or face the ICE-

mandated escalating schedule of punishments 4

      At two points in the Answering Brief, Plaintiffs quote a statement from the

Department of Homeland Security Inspector General (“IG”) purporting to

disapprove of cleaning anything beyond a detainee’s own bunk. AB 7, 42. That

opinion, provided in a “management alert” to the Theo Lacy Facility in Orange,

California, is mistaken and, in any event, does not change the government’s explicit

and repeated directions to the contrary. Courts have long recognized that IG

opinions do not receive judicial deference but are only valuable to the extent those

interpretations are persuasive. See Christensen v. Harris Cnty., 529 U.S. 576, 587

(2000). Here, the IG’s wayward comment is unpersuasive for all the reasons traced

above. It also contradicts unrebutted testimony in the district court from individuals

in ICE with substantive expertise. See, e.g., ECF 335-2 at 4-6 (testimony of Jay

Brooks, who oversaw the ICE Detention Standards Compliance Unit and

participated in drafting the PBNDS housekeeping requirements, that the

housekeeping tasks listed in the PBNDS were “examples” and not intended to

“preclude detainees from participating in maintaining the cleanliness of common or



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  Occasionally, Plaintiffs’ brief reads as if GEO required detainees to clean areas
beyond their housing unit. That is not correct. Any work beyond housekeeping in
one’s own housing unit would occur through the Voluntary Work Program, which
is the subject of Plaintiffs’ discrete unjust enrichment claim. See Part II supra.

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shared living areas,” including “the dormitory, dayroom, shower and bathroom”).

The IG’s mistaken comment directed to a specific California state facility does not

create a genuine dispute as to the fact that ICE required detainees at AIPC to clean

their “assigned living area” or face discipline according to ICE’s scale. APP. Vol. I

at 215–16.

      Finally, Plaintiffs attempt a half-hearted argument that ICE could not validly

authorize housekeeping subject to discipline for refusal. AB 47. No court has ever

accepted that theory. As explained above, Congress has plenary power over the

detention of aliens and has delegated that authority to ICE, including determination

of which labor is eligible for compensation and which is not. Supra at 15–16;

Demore, 538 U.S. at 523. Indeed, ICE is also one of the agencies responsible for

investigating and enforcing the TVPA.              U.S. Immigration and Customs

Enforcement,       Traffickers       and        Victims     Under          the    Radar,

https://tinyurl.com/32v7ej6c (last visited Apr. 14, 2023). Unsurprisingly, ICE sees

no tension between that statute and the requirement that detainees tidy up their own

housing units. Congress validly authorized ICE to direct GEO to require

housekeeping subject to its disciplinary scale.

      Under the correct legal standard, there is no question that ICE authorized and

directed GEO to implement a housekeeping policy that, in ICE’s words, “required

[detainees] to perform basic cleaning tasks within [their] living unit.” ECF 51-3 at



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19. There is likewise no contest that ICE directed GEO to apply ICE’s own

disciplinary scale for “[r]efusal to clean assigned living area.” APP. Vol. I at 215–

16; see also APP. Vol. III at 725. In fact, that direction appeared in the national

detention standards, which even Plaintiffs concede GEO was “contractually required

to follow.” AB 40. Additionally, ICE reviewed and approved GEO’s specific list

of chores comprising “clean[ing] assigned living area.” APP. Vol. II at 259, 453.

Under the correct standard, there is no genuine dispute that ICE authorized and

directed the housekeeping policies at issue. GEO is therefore entitled to derivative

sovereign immunity.

                                 CONCLUSION

      Plaintiffs’ Answering Brief resorts to straw-men arguments, misstatements of

law and fact, and emotional hyperbole rather than engaging the law as articulated in

Yearsley and Campbell-Ewald or engaging the voluminous record evidence

demonstrating that the federal government authorized and directed GEO to require

housekeeping under threat of discipline and to pay VWP participants a minimum

stipend of $1 per day. This Court should confirm that the relevant standard for DSI

is the one announced by the Supreme Court and the Fourth and Fifth Circuits, not

the zero-discretion rule in the Ninth Circuit and the court below. Applying the

correct standard to the facts before the district court compels summary judgment in




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favor of GEO on Plaintiffs’ unjust enrichment claims (VWP claims) and Trafficking

Victims Protection Act claims (housekeeping claims).



April 14, 2023                           Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on April 14, 2023, a copy of the foregoing brief was filed

on CM/ECF and service was thereby electronically delivered to all counsel of record.



April 14, 2023                              /s/ Dominic E. Draye
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